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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                            No. 1:14-cv-1025 RB/SMV

THE CITY OF ALBUQUERQUE,

       Defendant,

v.

THE ALBUQUERQUE POLICE
OFFICERS' ASSOCIATION,

       Intervenor.

              NOTICE OF WITHDRAWAL OF ENTRY OF APPEARANCE
                         BY JERRY A. WALZ [DOC. 8]

       COMES NOW Jerry A. Walz, Walz and Associates, P.C., and hereby respectfully

withdraws his Entry of Appearance [Doc. 8] as counsel of record on behalf of Defendant City of

Albuquerque. The City continues to have the following representation in this matter: Esteban A.

Aguilar, Jr., City Attorney, Samantha H. Hults, Deputy City Attorney, and Lindsay Van Meter,

Assistant City Attorney.


                                                   Respectfully Submitted,

                                                   WALZ AND ASSOCIATES, P.C.

                                                   /s/ Jerry A. Walz
                                                   Jerry A. Walz, Esq.
                                                   Co-Attorney for City of Albuquerque
                                                   133 Eubank Blvd NE
                                                   Albuquerque, NM 87123
                                                   (505) 275-1800
                                                   Jerryawalz@walzandassociates.com
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                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 31st day of May, 2019, I filed the foregoing notice
electronically through the CM/ECF system, which caused the parties, counsel of record and
independent monitor on the service list to be served by electronic means.


/s/ Jerry A. Walz
Jerry A. Walz, Esq.




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